     Case: 1:21-cv-05162 Document #: 322 Filed: 06/14/24 Page 1 of 4 PageID #:6919




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


City of Chicago,

                    Plaintiff,

        v.                                           Civil Action No. 1:21-cv-05162

DoorDash, Inc. and Caviar, LLC,                      Hon. Jeremy C. Daniel
                                                     Magistrate Judge Jeffrey T. Gilbert
                    Defendants.



                                   JOINT STATUS REPORT

        Pursuant to this Court’s orders dated December 23, 2022 (ECF No. 90) and December 19,

2022 (ECF No. 87) directing the parties to file a status report seven days after each rolling

production deadline to provide information about the last rolling production, what has been

produced to date in total, and what remains to be produced, the parties hereby file this Joint Status

Report concerning the June 7, 2024 production deadline.

I.      Status of the City’s Document Productions

        A.     Documents Produced by the City To Date

        As of June 7, the City has produced 8,284 documents, totaling 58,972 pages, in rolling

productions. The City’s prior productions are described in more detail in the prior joint status

reports (ECF Nos. 96, 101, 105, 109, 115, 151, 164, 174, 194, 200, 202, 216, 230, 234, 242, 246,

249, 250, 282, 294, 304, 308, 309, 320).

        The City’s May 22, 2024 production contained 440 documents and 2,122 pages. This

production contained documents responsive to the following, among others:




                                                 1
      Case: 1:21-cv-05162 Document #: 322 Filed: 06/14/24 Page 2 of 4 PageID #:6920




                 RFP No. 88 (documents related to the July 7, 2020 meeting titled “DoorDash –
                  Third Party Rules Compliance Discussion”).

                 RFP No. 98 (documents related to guidance issued by the City to DoorDash relating
                  to the (a) MCC § 4-276-470, (b) MCC § 2-25-090, and/or (c) the Third-Party Food
                  Delivery Service Rules)

                 RFP No. 42 (documents related to the DoorDash’s compliance with the Third-Party
                  Delivery Services Rules)

         B.       Remaining Documents to be Produced

         The City agreed to produce documents from hard copy files, and from agreed-upon

custodial searches, in response to RFP Nos. 107, 114, and 116-120. The City is also reviewing and

will produce the results of agreed-upon searches for RFP Nos. 43, 91, 92 and 97. The City

continues to review its overall production for completeness. The City produced an updated

privilege log on May 9. The City will supplement the log to reflect privileged documents identified

in any future searches agreed to in the parties’ discovery negotiations or directed by the Court.

II.      Status of DoorDash’s Document Productions

         A.       Documents Produced by DoorDash to Date

         DoorDash did not make a production on June 7, 2024. Since August 2022, DoorDash has

produced a total of 7,668 documents and 39,161 pages across 26 productions. The documents

produced to date include:

                 Custodial documents responsive to the City’s document requests relating to

                  minimum amount promotional discounts, non-partner restaurants, Dasher pay,

                  consumer fees, and menu pricing;

                 Documents identified in known non-custodial locations;

                 Documents identified from DoorDash’s review of documents produced in related

                  investigations and litigations; and



                                                    2
   Case: 1:21-cv-05162 Document #: 322 Filed: 06/14/24 Page 3 of 4 PageID #:6921




               Spreadsheets that were created in order to respond to the City’s requests for specific

                data.

       Additionally, DoorDash served its privilege log on the City on March 22, 2024.

       B.       Remaining Documents to be Produced

       DoorDash is in the process of collecting, reviewing, and producing additional documents

responsive to the City’s RFPs, Set Five, served on March 15, 2024. DoorDash also continues to

collect, review, and prepare for production additional documents responsive to agreements reached

stemming from the meet-and-confer letters and meetings that occurred ahead of the Court’s

motion-to-compel deadline on May 15, 2024.

 DATED: June 14, 2024                            Respectfully submitted,

 CITY OF CHICAGO DEP’T OF LAW,                   COHEN MILSTEIN SELLERS & TOLL PLLC
 AFFIRMATIVE LITIGATION
 DIVISION

 By: /s/ Peter H. Cavanaugh                      By: /s/ Brian E. Bowcut
 Stephen J. Kane                                 Brian E. Bowcut (pro hac vice)
 Peter H. Cavanaugh                              Peter S. Ketcham-Colwill (pro hac vice)
 121 N. LaSalle St.                              1100 New York Avenue, NW, Suite 500
 Room 600                                        Washington, D.C. 20005
 Chicago, IL 60602                               Phone: (202) 408-4600
 Phone: (312) 744-6934                           bbowcut@cohenmilstein.com
 stephen.kane@cityofchicago.org                  pketcham-colwill@cohenmilstein.com
 peter.cavanaugh@cityofchicago.org
                                                 Lisa M. Ebersole (pro hac vice)
                                                 88 Pine Street, 14th Floor
                                                 New York, NY 10005
                                                 Phone: (202) 408-4600
                                                 lebersole@cohenmilstein.com

                                                 Attorneys for Plaintiff City of Chicago




                                                  3
  Case: 1:21-cv-05162 Document #: 322 Filed: 06/14/24 Page 4 of 4 PageID #:6922




GIBSON, DUNN & CRUTCHER LLP            FORDE & O’MEARA LLP

By: /s/ Michael Holecek                By: /s/ Michael K. Forde
Joshua S. Lipshutz (pro hac vice)      Michael K. Forde
1050 Connecticut Avenue NW             Brian P. O’Meara
Washington, DC 20036                   191 North Wacker Drive
Phone: (202) 955-8500                  31st Floor
jlipshutz@gibsondunn.com               Chicago, Illinois 60606
                                       Phone: (312) 641-1441
Michael Holecek (pro hac vice)         mforde@fordellp.com
Cynthia Chen McTernan (pro hac vice)   bomeara@fordellp.com
333 S. Grand Avenue
Los Angeles, CA 90071                  RILEY SAFER HOLMES
Phone: (213) 229-7000                  & CANCILA LLP
mholecek@gibsondunn.com
cmcternan@gibsondunn.com               By: /s/ Patricia Brown Holmes
                                       Patricia Brown Holmes
                                       Sarah E. Finch
                                       70 W. Madison Street
                                       Suite 2900
                                       Chicago, IL 60602
                                       Phone: (312) 471-8700
                                       pholmes@rshc-law.com
                                       sfinch@rshc-law.com

                                       Attorneys for Defendants DoorDash, Inc. and Caviar,
                                       LLC




                                       4
